
285 S.E.2d 832 (1981)
C. Edward GILLESPIE, Plaintiff,
v.
David DeWITT, Defendant and Third-Party Plaintiff,
v.
Daniel E. KELLY, and K &amp; G Health Care Industries, Inc., Third-Party Defendants.
Supreme Court of North Carolina.
November 3, 1981.
Van Camp, Gill &amp; Crumpler, Southern Pines, for appellants.
Freeman, Edwards &amp; Vinson, Goldsboro, for appellees.
Defendant and Third-Party Plaintiff's petition for discretionary review under G.S. § 7A-31, 280 S.E.2d 736. Denied.
